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,Pro_SeJ5_(Rgy;Jj/16)^omgla^ for Violation of Civil Rights(Non-Prisoner)



                                      United States District Court
                                                                       for the

                                                       Eastern District of Virginia         Q
                                                              Richmond Division

                         MARC STOUT,
                    JACQUELINE STOUT                                             Case No.                 7,|cV 4"]G?
                                                                                                (to be filled in by the Clerk's Office)

                            Plaintiff(s)
(Write the full name ofeach plaintiff who is filing this complaint.
Ifthe names ofall the plaintiffs cannot fit in the space above,                  Jury Trial: (check one) l^Yes nH No
please write "see attached" in the space and attach an additional
page with the fiiU list of names.)
                                -V-


                    TIMOTHY BAROODY,
                      BRIAN LAYTON,
                           JOHN DOE


                           Defendantfs)
(Write the full name ofeach defendant who is being sued. If the
names ofall the defendants cannot fit in the space above,please
 write "see attached" in the space and attach an additional page
 with the full list of names. Do not include addresses here.)



                                COMPLAINT FOR VIOLATION OF CIVIL RIGHTS
                                                       (Non-Prisoner Complaint)


                                                                      NOTICE


    Federal Rules of Civil Procedure 5.2 addresses the privacy and security concerns resulting from public access to
    electronic court files. Under this rule, papers filed with the court should not contain: an individuals full social
    security number or full birth date; the full name of a person known to be a minor; or a complete financial account
    number. A filing may include only: the last four digits of a social security number; the year of an individual's
    birth; a minor's initials; and the last four digits of a financial account number.

    Except as noted in this form, plaintiff need not send exhibits, affidavits, grievance or witness statements, or any
    other materials to the Clerk's Office with this complaint.

    In order for your complaint to be filed, it must be accompanied by the filing fee or an application to proceed in
    forma pauperis.




                                                                                                                                          Page 1 of 6
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Pro Se 15(Rev. 12/16) Complaint for Violation of Civil Rights(Non-Prisoner)


I.        The Parties to This Complaint

          A.         The Plaintiff(s)


                    Provide the information below for each plaintiff named in the complaint. Attach additional pages if
                     needed.

                          Name                                        MARC STOUT, JACQUELINE STOUT
                          Address                                    30 WILLOW BRANCH PLACE

                                                                      FREDERICKSBURG            VA                22405
                                                                               City            State              Zip Code
                          County                                     STAFFORD
                          Telephone Number                           (540) 370-6980
                          E-Mail Address                              FORMULAFOCUSED@GMAIL.COM


          B.        The Defendantfs)

                    Provide the information below for each defendant named in the complaint, whether the defendant is an
                    individual, a government agency, an organization, or a corporation. For an individual defendant,
                    include the person's job or title (if known)and check whether you are bringing this complaint against
                    them in their individual capacity or official capacity, or both. Attach additional pages if needed.

                    Defendant No. 1

                          Name                                       TIMOTHY BAROODY

                          Job or Title (if known)                    CITY MANAGER,THE CITY OF FREDERICKSBURG
                          Address                                    715 PRINCESS ANNE STREET

                                                                     FREDERICKSBURG             VA                22401
                                                                               City           State               Zip Code
                          County                                     SPOTSYLVANIA
                          Telephone Number                           (540)372-1010
                          E-Mail Address (if known)


                                                                  "AIndividual capacity ^T^^fficial capacity
                    Defendant No. 2
                          Name                                       BRIAN LAYTON

                          Job or Title (ifknown)                     CHIEF OF POLICE, THE CITY OF FREDERICKSBURG POLICE.
                          Address                                    2200 COWAN BLVD

                                                                     FREDERICKSBURG             VA                22401
                                                                               City           State               Zip Code
                          County                                     SPOTSYLVANIA
                          Telephone Number                           (540)373-3122
                          E-Mail Address (if known)

                                                                     p^ndividual capacity      fficial capacity

                                                                                                                             Page 2 of 6
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Pro Se 15(Rev. 12/16) Complaint for Violation of Civil Rights(Non-Prisoner)


                     Defendant No. 3
                           Name                                      JOHN DOE

                          Job or Title (if known)                    POLICE OFFICER, THE CITY OF FREDERICKSBURG POLICE.

                          Address                                    2200 COWAN BLVD

                                                                      FREDERICKSBURG                 VA               22401
                                                                                  City               State            Zip Code
                          County                                     SPOTSYLVANIA

                          Telephone Number                           (540)373-3122
                          E-Mail Address (ifknown)

                                                                              dividual capacity □ Official capacity

                    Defendant No.4

                          Name

                          Job or Title (if known)
                          Address


                                                                                  City               State            Zip Code
                          County
                          Telephone Number
                          E-Mail Address (ifknown)

                                                                     □ Individual capacity □ Official capacity
11.       Basis for Jurisdiction


          Under 42 U.S.C. § 1983, you may sue state or local officials for the "deprivation of any rights, privileges, or
          immunities secured by the Constitution and [federal laws]." Under Bivens v. Six Unknown Named Agents of
          Federal Bureau of Narcotics, 403 U.S. 388 (1971), you may sue federal officials for the violation of certain
          constitutional rights.

          A.        Are you bringing suit against (check all that apply):

                    □ Federal officials (a Bivens claim)
                   jO-State or local officials (a § 1983 claim)
          B.        Section 1983 allows claims alleging the "deprivation of any rights, privileges, or immunities secured by
                    the Constitution and [federal laws]." 42 U.S.C. § 1983. If you are suing under section 1983, what
                    federal constitutional or statutory right(s) do you claim is/are being violated by state or local officials?
                     FIRST AMENDMENT/ FREE SPEECH, EXPRESSION, AND PRESS RETALIATION;
                     FOURTH AMENDMENT/ UNREASONABLE AND EXCESSIVE FORCE;
                     FOURTEENTH AMENDMENT/ DENIED LIBERTY WITHOUT DUE PROCESS




                    Plaintiffs suing under Bivens may only recover for the violation of certain constitutional rights. If you
                    are suing under Bivens, what constitutional right(s) do you claim is/are being violated by federal
                    officials?


                                                                                                                                 Page 3 of 6
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          D.        Section 1983 allows defendants to be found liable only when they have acted "under color of any
                    statute, ordinance, regulation, custom, or usage, of any State or Territory or the District of Columbia."
                    42 U.S.C. § 1983. If you are suing under section 1983, explain how each defendant acted under color
                    of state or local law. If you are suing under Bivens, explain how each defendant acted under color of
                    federal law. Attach additional pages if needed.
                    DEFENDANTS ARE EMPLOYED BY THE CITY OF FREDERICKSBURG AND ENFORCE THE CODE
                    OF VIRGINIA AND THE CITY OF FREDERICKSBURG ORDINANCES




III.     Statement of Claim


        State as briefly as possible the facts of your case. Describe how each defendant was personally involved in the
        alleged wrongful action, along with the dates and locations of all relevant events. You may wish to include
        further details such as the names of other persons involved in the events giving rise to your claims. Do not cite
        any cases or statutes. If more than one claim is asserted, number each claim and write a short and plain
        statement of each claim in a separate paragraph. Attach additional pages if needed.

        A.          Where did the events giving rise to your claim(s) occur?
                    FREDERICKSBURG. VA




        B.          What date and approximate time did the events giving rise to your claim(s) occur?
                    MAY 31, 2020 BETWEEN 9:00 P.M. -12:00 A.M.




                    What are the facts underlying your claim(s)? (For example: What happened to you? Who did what?
                    Was anyone else involved? VV^o else saw what happened?)
                    SEE "STATEMENT OF CLAIM III. C."




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                               STATEMENT OF CLAIM III. C.


1.    The facts of this case surround the national Breonna Taylor and George Floyd protests.

2.    Marc Stout and Jacqueline Stout were on their way to a protest in Washington, D.C.

3.    Marc Stout and Jacqueline Stout encountered unusually heavy vehicular and pedestrian

      traffic while leaving the City of Fredericksburg where Jacqueline lived.

4.    Marc Stout and Jacqueline Stout decided to investigate the source and destination of the

      traffic before they departed to D.C.

5.    Marc Stout and Jacqueline Stout followed the traffic downtown where vehicular traffic

      ultimately came to a halt.

6.    Crowds and groups of people were flowing through the streets on foot and fleeing from

      the direction of downtown.

7.    Marc Stout and Jacqueline Stout found a place to park in a nearby parking lot.

8.    Marc Stout and Jacqueline Stout parked next to a vehicle containing two passengers.

9.    Marc Stout and Jacqueline Stout asked the passengers about the crowd of people in the

      streets.


10.   The passengers responded that a local protest was just attacked by police with tear gas
      and rubber bullets but that another protest was scheduled for downtown that night.

11.   Marc Stout and Jacqueline Stout looked around and visually observed individuals crying,

      screaming, coughing, choking, holding their eyes and lungs, and being helped by others
      who were themselves obviously suffering from injuries.

12.   Marc Stout and Jacqueline Stout discussed whether they should continue to D.C. or
      remain in Fredericksburg and document the Fredericksburg protest.

13.   Marc Stout and Jacqueline Stout decided to remain in Fredericksburg.
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14.   Marc Stout and Jacqueline Stout communicated their plan to the passengers, one of

      whom responded, "Here, you better take this milk and gas mask, it's pretty bad going in.

      We'll be right here if anyone needs help."

15.   Marc Stout and Jacqueline Stout politely declined the milk and gas mask, wrapped their

      faces with bandanas, began videorecording, and headed on foot in the direction of

      downtown.


16.   Marc Stout and Jacqueline Stout reached Princess Anne Street, one of the busiest

      downtown Fredericksburg streets, where they observed a high volume and concentration

      of police vehicles and activity.

17.   Marc Stout and Jacqueline Stout could visually observe that the highest concentration of

      police activity was on the corner of Princess Anne and Charlotte Streets, the courthouse

      intersection.


18.   Marc Stout and Jacqueline Stout headed towards the courthouse.

19.   Police in riot gear lined the courthouse sidewalk, a traditionally public sidewalk shared by

      both Princess Anne Street and the courthouse building.

20.   Armored vehicles and police in riot gear were positioned in the middle of the street at the
      courthouse intersection.

21.   A street artist performed an interpretive dance against police brutality in the middle of the
      street in front of the courthouse.

22.   There was a group of four or five individuals on one of the corners of the courthouse
      intersection playing music through a DJ speaker.

23.   Very few other pedestrians were present in the area.

24.   Vehicular traffic continued as usual.

25.   Marc Stout and Jacqueline Stout began walking along the courthouse sidewalk where
      police in riot gear were posted every few feet along the length of the courthouse building.
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26.   Marc Stout and Jacqueline Stout engaged some of the police in riot gear in peaceable

      conversation as Marc Stout and Jacqueline Stout moved along.

27.   Marc Stout and Jacqueline Stout identified themselves as press to some of the police in

      riot gear.

28.   Some of the police in riot gear acknov^/ledged Marc Stout and Jacqueline Stout as

      members of the press.

29.   Marc Stout and Jacqueline Stout moved about the courthouse intersection,

      videorecording the events and peaceably conversing with random police officers both in

      and out of riot gear.

30.   For twenty minutes, Marc Stout and Jacqueline Stout observably walked around the area

      filming and investigating the events and peaceably engaging the police.

31.   Marc Stout and Jacqueline Stout briefly rounded the corner of the courthouse.

32.   When Marc Stout and Jacqueline Stout came back around the corner of the courthouse,

      they could see and hear in the distance a crowd of about three-hundred protestors in the

      street walking towards the courthouse.

33.   Marc Stout and Jacqueline Stout were observably not in the crowd of protestors.

34.   Marc Stout and Jacqueline Stout observably arrived outside of the courthouse

      separately from and prior to the arrival of the protestors.

35.   Marc Stout and Jacqueline Stout observably were independent members of the press.

36.   Most of the protestors were city residents, college students, local business owners,

      politicians, and friends and family of the protestors.

37.   The protestors arrived at the outside of the courthouse chanting, "Hands up, don't
      shoot!" and "I can't breathe!" and carrying signs containing language against racism and

      police brutality and in support of equality and police reform.

38.   Members of the press and media came with the protestors.
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39.   The protestors knelt in the street, put their hands up, and took a moment of silence for all

      of the victims of police brutality.

40.   Marc Stout and Jacqueline Stout continued videorecording the events from the

      courthouse sidewalk.

41.   Marc Stout and Jacqueline Stout were the only two members of the press documenting

      the events from the courthouse sidewalk. Other members of the press who arrived with

      the protestors were positioned in the street or on the sidewalk on the opposite side of the

      street.


42.   Marc Stout and Jacqueline Stout began toggling between sidewalks documenting the

      events.


43.   Streams of vehicles continuously passed by the courthouse honking in support of the

      protestors.

44.   The protestors remained in the street or on the sidewalk on the opposite side of the
      street as the courthouse.

45.   Marc Stout and Jacqueline Stout were the only two individuals accessing the courthouse

      sidewalk other than the police and were the only two individuals positioned between the

      police and the protestors.

46.   As Marc Stout and Jacqueline Stout continued documenting the events from the

      courthouse sidewalk, the police began equipping themselves with gas-masks.

47.   Protestors became audibly and visibly frightened and pleaded with the police to not hurt

      the protestors.

48.   Protestors pleaded, "No one is doing anything!" and "Why are you doing this?!" and
      "Please don't hurt us!"

49.   Protestors began kneeling and lying down in the street in a peaceable show of
      submission to the police.
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50.   Acting on the audible and visible fear of the protestors, Marc Stout announced to all of

      the police that if they wanted to keep their qualified immunity, they'd better think twice

      before becoming overzealous towards the community.

51.   The crowd of protestors emptied out of the street to instinctively create distance between

      themselves and the police and stood on the sidewalks across the street from the

      courthouse.


52.   Marc Stout and Jacqueline Stout were still videorecording on the courthouse sidewalk

      just feet away from the police.

53.   Marc Stout and Jacqueline Stout crossed the street to join the protestors.

54.   Police in an armored vehicle announced through a loudspeaker that the police were

      declaring the protest an unlawful assembly:

55.   "I am Sergeant Crystal Hill with the Fredericksburg Police Department. In order to stop a

      serious and immediate breach of public safety, peace, or order, I am declaring this

      assembly an unlawful assembly. I command you in the name of the Commonwealth to

      leave this area immediately. Those who do not leave immediately are subject to arrest."

56.   Marc Stout and Jacqueline Stout did not hear Sergeant Crystal Hill's dispersal order.

57.   The police declared the protest an unlawful assembly because the message of the

      protestors was sharply critical of the police and overwhelmed the police.

58.   Nine seconds after the protest was declared an unlawful assembly the first rounds of

      projectiles were fired from police weapons at the protestors.

59.   A tear-gas canister was shot toward a man standing on the curb next to Marc Stout. The

      canister landed at the man's feet and exploded. The man shielded himself from the blast.

60.   Another tear-gas canister was shot toward Marc Stout. The canister landed at Marc

      Stout's feet and exploded.(Exhibit A). Marc Stout shielded himself from the blast.

61.   Marc Stout and Jacqueline Stout became separated.
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62.   The police shot a tear-gas canister into a girl's knee, gashing her knee open and causing

      the girl's leg muscles to lock up, which caused her to fall flat on her face, causing the girl

      to urinate on herself.

63.   The police shot a tear-gas canister at another girl, striking her in the leg.

64.   The police indiscriminately fired round after round of tear-gas at the protestors.

65.   Tear-gas filled the air, making it impossible to breathe or see.(Exhibit B).

66.   Jacqueline Stout's eyes succumbed to the tear-gas. She experienced burning, swelling,

      tearing, and sightlessness.

67.   Jacqueline Stout experienced shortness of breath, coughing, and choking.

68.   Jacqueline Stout became confused, disoriented, and dissociated.

69.   Marc Stout's eyes succumbed to the tear-gas. He experienced burning, swelling, tearing,

      and sightlessness.

70.   Marc Stout experienced shortness of breath, coughing, and choking.

71.   Marc Stout became confused, disoriented, and dissociated.

72.   Protestors half-carried Jacqueline Stout to a nearby volunteer civilian medic who treated

      Jacqueline Stout's tear-gas injuries with topical solution.

73.   A girl with her hands up walked into the crosswalk pleading with the police to please stop

      attacking the protestors.

74.   The police jet-blasted the girl's eyes, point-blank-range, with an industrial-sized canister

      of pepper-spray, causing the girl to scream in terror and fall flat on her face in the street.

75.   The police dragged the girl into a sea of police until she disappeared.

76.   In an effort to channel the attacks by the police away from the protestors and towards

      himself. Marc Stout began yelling to the police, "Suck my d***, p****!"

77.   John Doe heard Marc Stout.

78.   John Doe turned his attention away from the other protestors and towards Marc Stout.
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79.   John Doe walked menacingly across the street towards Marc Stout, pausing a

      lane's-width distance away.

80.   John Doe simultaneously half-raised and half-sprayed his pepper-spray canister at Marc

      Stout. (Exhibit C).

81.   Recognizing John Doe's half-attempt at pepper-spraying Marc Stout and missing, Marc

      Stout continued yelling at John Doe,"Suck my d***, p****!"

82.   John Doe charged menacingly toward Marc Stout, stopping an arm's-length distance

      away.

83.   John Doe aimed his pepper-spray canister inches away from Marc Stout's eyes.

84.   John Doe jet-blasted Marc Stout's eyes, face, and camera, drenching Marc Stout's entire

      head, face, neck, and camera.(Exhibit D, E, F).

85.   John Doe pepper-sprayed Marc Stout because John Doe found Marc Stout's speech

      and expression to be offensive towards the police.

86.   After releasing his finger from the canister's trigger, John Doe strutted back across the

      street.


87.   Marc Stout's eyes began to experience sharp and extreme burning, swelling, and

      sightlessness.

88.   Marc Stout's face, head, neck, and chest began to experience sharp and extreme

      burning and swelling.

89.   Marc Stout experienced shortness of breath, coughing, and choking.

90.   Marc Stout became confused, disoriented, and dissociated.

91.   Marc Stout began moving in circles and feeling around in the air for any kind of support

      or guidance.

92.   Marc Stout fumbled away from the protest and along a street leading away from the

      courthouse.
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93.    A protestor saw Marc Stout get pepper-sprayed, followed Marc Stout, and voluntarily

       applied a topical solution to Marc Stout's eyes, face, and head.(Exhibit G, H).

94.    Marc Stout heard a voice cry out, "Sir, are you okay? Do you need medical attention?"

95.    Marc Stout responded to the voice that he had been severely pepper-sprayed and was

       blinded and in pain.

96.    The voice replied to Marc Stout that she was almost finished providing medical attention

       to others and would thereafter attend to Marc Stout.

97.    That voice was Eddie Banks, the protest leader and now-plaintiff in a civil-rights lawsuit

       against the police pursuant to, inter alia, this set of facts.

98.    Eddie Banks applied water, milk, and other topical treatments to Marc Stout's eyes and

       skin.(Exhibit I).

99.    An individual came coughing from the direction of the protest asking if anyone could

       flush or rinse his eyes and face because police had just attacked him.(Exhibit J).

100.   Eddie Banks treated the individual.

101.   The individual who needed help and who Eddie Banks treated was Virginia Delegate

       Joshua Cole.


102.   Del. Josh Cole attempted to return to the protestors who were still being attacked by the

       police in front of the courthouse.

103.   Josh Cole returned seconds later and said, "I can't seel I can't seel"(Exhibit K, L).

104.   Marc Stout continued away from the courthouse, fumbling around in the night for

       Jacqueline Stout.

105.   Jacqueline Stout found Marc Stout and both left the downtown area suffering from

       severe tear-gas and pepper-spray injuries.

106.   Marc Stout and Jacqueline Stout, on the way back to their car, received unsolicited but

       much-welcomed medical treatment from passing civilian volunteers for Marc Stout's and

       Jacqueline Stout's tear-gas and pepper-spray injuries. (Exhibit M).
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107.   Jacqueline Stout did not seek professional medical assistance for her tear-gas injuries.

108.   Jacqueline Stout's skin experienced severe burning, swelling, and redness for two days

       after being attacked by the police with tear-gas.

109.   Marc Stout did not seek professional medical assistance for his pepper-spray or tear-gas

       injuries.

110.   Marc Stout was uninsured and couldn't afford to pay for professional medical assistance

       and didn't want to burden the nation's healthcare system by obtaining free assistance.

111.   Marc Stout's skin experienced severe burning, swelling, and redness for two days after

       being attacked by the police.

112.   Marc Stout attempted to identify the officer who pepper-sprayed Marc Stout.

113.   Marc Stout went to the Fredericksburg Police Department with a screenshot of the

       officer.


114.   Marc Stout requested by phone that a supervisor come to the lobby and identify the

       officer in the screenshot.


115.   Marc Stout explained to the officer on the phone that Marc Stout was the individual

       referenced in a departmental report that documented the protest outside of the

       courthouse and the pepper-spray incident.

116.   The officer stated to Marc Stout, "No, no, that's not you. You weren't the only one who

       got pepper-sprayed at that time in that exact location on that date. It wasn't one of our

       officers that pepper-sprayed you."

117.   Marc Stout filed a complaint with the department regarding the pepper-spray incident.

118.   The department responded to Marc Stout that the Virginia State Police pepper-sprayed

       Marc Stout and not Fredericksburg P.O.

119.   Marc Stout filed a complaint with the Virginia State Police regarding the pepper-spray

       incident.
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120.   Virginia State Police responded that they conducted a thorough investigation and

       determined that Marc Stout was pepper-sprayed by Fredericksburg RD.

121.   Marc Stout replied to VSR that Fredericksburg P.D. had already blamed VSP and that

       that was why Marc Stout filed a complaint with VSP.

122.   VSP responded to Marc Stout with an assurance that it was, in fact, Fredericksburg P.D.

       who pepper-sprayed Marc Stout.

123.   Marc Stout filed another complaint with Fredericksburg P.D. and informed them of the

       VSP's investigation and outcome.

124.   Fredericksburg P.D. has ignored, to this day, Marc Stout, Marc Stout's complaints, and

       Marc Stout's requests that Fredericksburg P.D. Identify the officer who pepper-sprayed

       Marc Stout.


125.   To provide Fredericksburg RD. with the benefit-of-the-doubt. Marc Stout went to the

       Stafford County Sheriffs Department, the last of the three agencies that were present on

       the night that protestors were attacked by police In front of the courthouse, and

       requested that a supervisor determine whether the officer In Marc Stout's screenshot

       was from the Stafford County Sheriffs Department.

126.   The Stafford County Sheriffs Department categorically denied that they were the agency

       In Marc Stout's screenshot.

127.   Marc Stout believed the Stafford County Sheriffs Department's denial.

128.   Fredericksburg P.D. officers later admitted that the officer who pepper-sprayed Marc

       Stout was a Fredericksburg P.D. officer but refused to further Identify the officer.

129.   Fredericksburg P.D. officers admitted that It was departmental policy for officers to

       identify themselves to members of the public who Inquired, especially regarding facts of

       this nature.


130.   The City of Fredericksburg contracted with the Police Executive Research Forum

       (PERF) to perform an independent review of Fredericksburg P.D.'s responses to
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       protests, including the protest out front of the courthouse during which Marc Stout was

       pepper-sprayed.

131.   PERF is highly-respected by city governments and law-enforcement agencies.

132.   "PERF also reviewed body-worn camera footage provided by FPD, which showed

       events from the perspectives of officers at the scene of demonstrations."

133.   PERF determined that Fredericksburg's protests were "brief and relatively peaceful

       compared to those of many other cities. In some locations, protests continued for

       months, and many cities faced rioting and significant violence."

134.   One of PERF's key findings was that Fredericksburg P.O. used tear-gas against

       protestors when there wasn't "a significant concern about an immediate threat to

       persons or property."

135.   One of PERF's key findings was that Fredericksburg P.O. did not warn the protestors

       before using tear-gas against them.

136.   One of PERF's key recommendations was that Fredericksburg P.D. reform its policies

       and training regarding Fredericksburg P.D.'s responses to protests and uses of weapons

       against protestors.

137.   One of PERF's key recommendations was that Fredericksburg P.D. in the future "must

       ensure that demonstrators have time to hear dispersal orders and comply with them, so

       they can begin leaving the area before officers enforce the order. Dispersal orders must

       be loud, clear, and provided from different parts of the crowd. To avoid confusion,

       dispersal orders must provide instructions about the direction and path the crowd should

       take."


138.   PERF determined that, "While tensions were high, PERF's review of officers' body-worn

       camera footage did not show members of the crowd actively engaged in acts of

       destruction or other types of violence."
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139.   PERF determined that, anyway,"there were three deployments of pepper-spray targeted

       against two specific individuals."

140.   "In one instance, pepper-spray was deployed against a woman who, after the initial

       deployment of CS gas, approached within several feet of the line of officers in an

       apparent attempt to prevent them from launching additional canisters of CS gas."

141.   The other two instances occurred between Marc Stout and John Doe, John Doe's one

       half-spray at Marc Stout that         missed, then John      Doe's one full jet-blast,

       point-blank-range, to Marc Stout's eyes, face, head, neck, camera, and chest.

142.   PERF determined that protestors ultimately became fed-up with the Fredericksburg

       P.D.'s continuous attacks on the protestors.

143.   PERF determined that protestors began throwing tear-gas canisters and rocks back at

       the police.

144.   PERF determined that Fredericksburg P.D. doubled-down on their attacks on the

       protestors.

145.   PERF determined that Fredericksburg P.D. thereby dispersed the protestors.

146.   PERF determined that the police response to protestors outside of the courthouse was a

       result of The City of Fredericksburg and Fredericksburg P.D. executive action.

147.   The Chief of Police, not satisfied after receiving the PERF report, and instead of

       honoring the independent nature of the PERF review and accepting the findings,

       decided to put the PERF report to a "public vote."

148.   Timothy Baroody is the City Manager for the City of Fredericksburg.

149.   Timothy Baroody posesses final policymaking authority for The City of Fredericksburg.

150.   Timothy Baroody oversees the Chief of Police.

151.   The Chief of Police posessess final policymaking authority for Fredericksburg P.D.

152.   Timothy Baroody and the Chief of Police declared the protest out front of the courthouse

       an unlawful assembly.
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153.   Timothy Baroody and the Chief of Police declared the protest out front of the courthouse

       an unlawful assembly because protestors were expressing criticisms about the police.

154.   Timothy Baroody and the Chief of Police issued commands to use tear-gas and

       pepper-spray on protestors.

155.   Timothy Baroody and the Chief of Police refused to identify the Fredericksburg P.D.

       officer who pepper-sprayed Marc Stout.

156.   Marc Stout can't, presumably, effectuate service of process on the officer who

       pepper-sprayed Marc Stout, or can't otherwise reasonably seek justice unless Timothy

       Baroody and the Chief of Police provide Marc Stout with the name of the officer who

       pepper-sprayed Marc Stout.

157.   Timothy Baroody's and the Chief of Police's refusals to identify the Fredericksburg RD.

       officer who pepper-sprayed Marc Stout constitutes deliberate indifference to the

       protection of Marc Stout's rights to freedom of speech and freedom of expression.

158.   Protesting has been a staple and foundation of American life and culture since the

       beginning of the country.

159.   Police have been responding to protests since the beginning of the country.

160.   Police have been responding to protests for so long in this country that it's obvious that

       Fredericksburg P.D. should have adequately trained its officers to respond to protests.

161.   Fredericksburg P.D. did not adequately train its officers to respond to protests.

162.   Fredericksburg P.D.'s lack of protest training likely resulted in Marc Stout and Jacqueline

       Stout getting tear-gassed and pepper-sprayed outside of the courthouse.

163.   Timothy Baroody and Brian Layton were deliberately indifferent to Federicksburg P.D.'s

       need to adequately train its officers to respond to protests.
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IV.      Injuries

         If you sustained injuries related to the events alleged above, describe your injuries and state what medical
         treatment, if any, you required and did or did not receive.
         PHYSICAL INJURIES AND MEDICAL TREATMENT - "SEE STATEMENT OF CLAIM III. C.";
         LOSS OF DIGNITY;
         LOSS OF STATUS AND SUPERIORITY - CITIZENS OUTRANK THE POLICE;
         SEVERE FRIGHT;
         SEVER ANXIETY;
         SEVERE PARANOIA;
         SEVERE DISTRUST;
         MENTAL AND EMOTIONAL ANGUISH




V.      ReUef


        State briefly what you want the court to do for you. Make no legal arguments. Do not cite any cases or statutes.
        If requesting money damages,include the amounts of any actual damages and/or punitive damages claimed for
        the acts alleged. Explain the basis for these claims.
         GENERAL COMPENSATORY DAMAGES IN THE AMOUNT OF $500,000;
         PUNITIVE DAMAGES IN THE AMOUNT OF $500,000 - DEFENDANTS, IN THIER INDIVIDUAL CAPACITIES,
         ACTED WITH CALLOUS DISREGARD FOR MARC STOUTS AND JACQUELINE STOUT'S
         CONSTITUTIONAL RIGHTS




                                                                                                                    Page 5 of 6
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VI.      Certification and Closing

         Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my knowledge, information,
         and belief that this complaint:(1)is not being presented for an improper purpose, such as to harass, cause
         unnecessary delay, or needlessly increase the cost of litigation;(2)is supported by existing law or by a
         nonfrivolous argument for extending, modifying, or reversing existing law;(3)the factual contentions have
         evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
         opportunity for further investigation or discovery; and (4)the complaint otherwise complies with the
         requirements of Rule 11.



         A.          For Parties Without an Attorney

                    I agree to provide the Clerk's Office with any changes to my address where case-related papers may be
                    served. I understand that my failure to keep a current address on file with the Clerk's Office may result
                    in the dismissal of my case.


                     Date of signing:                     07/18/2021


                     Signature of Plaintiff                 IS S

                    Printed Name of Plaintiff               MARC STOUT,JACQU^LII^ST(5

        B.          For Attorneys


                    Date of signing:


                    Signature of Attorney
                    Printed Name of Attorney
                    Bar Number

                     Name of Law Firm

                    Address


                                                                               City        State          Zip Code

                    Telephone Number
                    E-mail Address




                                                                                                                     Page 6 of 6
